                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                  EASTERN DIVISION

JOHN FULTON, et al.                               )
                                                  )
                         Plaintiffs,              )       No.      05 C 1551
                                                  )
        v.                                        )        Judge John W. Darrah
                                                  )
DET. ZALATORIS, et al.,                           )        Magistrate Judge Nolan
                                                  )
                         Defendants.              )

                      DEFENDANT RUBENSTEIN’S MOTION TO STAY

        NOW COMES defendant, Assistant State’s Attorney Jacob Rubenstein (“ASA

Rubenstein”)1, by and through his counsel, RICHARD A. DEVINE, State’s Attorney of Cook

County, through his assistants, Patrick T. Driscoll, Jr., Louis R. Hegeman and Stephen L. Garcia,

and as and for his motion to stay, pursuant to FRCP 26(a)(1) and 26(c)(1), states as follows:

        1.      Plaintiffs John Fulton, Anthony Mitchell and Antonio Shaw (collectively the

“plaintiffs”), have filed a four count civil rights complaint under §1983 against several Chicago

police detectives, for false arrest, coercive interrogation, conspiracy and deprivation of the right

to a fair trial, alleging violation of their Fourth, Fifth and Fourteenth amendment rights, premised

on their arrests and the alleged coercion of their confessions in relation to an ongoing murder

prosecution.2

        2.      Plaintiffs also name ASA Rubenstein as a defendant, for his role in taking

statements from witnesses, reviewing evidence and initiating the prosecution of plaintiffs.

Plaintiffs allege that ASA Rubenstein was, at all relevant times, an attorney with the Cook

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  Since the time of the filing of the complaint in this matter, defendant Rubenstein has gone into private
practice. Because he is sued for his conduct as an assistant state’s attorney, and referred to as such in the
complaint, he will be referred to as Assistant State’s Attorney Rubenstein herein for consistency.
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  A copy of plaintiffs’ complaint is attached hereto as Exhibit A, and will be cited herein as “Complaint, ¶
_.”
County State’s Attorney’s Office and was acting within the scope of his employment.

(Complaint, ¶ 5.)

       3.      As discussed below, these actions are prosecutorial functions for which ASA

Rubenstein is absolutely immune from suit. The claim of absolute immunity is not a mere

defense to liability, but immunity from all aspects of plaintiffs’ lawsuit, including pre-trial

discovery. See, e.g. Mitchell v. Forsyth, 472 U.S. 511, 526, 105 S.Ct. 2806, 2815 (1985).

       4.      On May 17, 2005, this Court entered an order staying all proceedings in this Court

because the state criminal prosecutions of plaintiffs are ongoing. See, e.g., Younger v. Harris,

401 U.S. 378, 91 S. Ct. 746 (1971); Simpson v. Rowan, 73 F.3d 134 (7th Cir. 1995).

       5.      At a status hearing in this matter on September 29, 2005, the Court was informed

that the criminal prosecutions of plaintiffs are still ongoing. The Court set the matter for further

status on November 10, 2005, but ordered that the parties should proceed with Rule 26(a)(1)

disclosures by October 26, 2005.

       6.      As of the date of the filing of this motion, the criminal proceedings are still

pending and no date is set for trial as to any of the plaintiffs. On October 31, 2005, the parties are

scheduled to appear before the state criminal court on a motion to reopen certain defendants’

motions to suppress.

       7.      As counsel for defendant advised the Court at the last status hearing, at such time

as the stay of this matter is lifted, once the underlying criminal matter has concluded, it is

anticipated that ASA Rubenstein will move to dismiss plaintiffs’ claims against him on the basis,

inter alia, that plaintiffs’ claims against him are barred by absolute prosecutorial immunity,

because the conduct complained of against him arises out of the initiation and prosecution of




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criminal charges against plaintiffs. See Imbler v. Pachtman, 424 U.S. 409, 431 (1976). See also

Spiegel v. Rabinovitz, 121 F.3d 251 (7th Cir. 1997), cert. den., 522 U.S. 998 (1997).

       8.      In connection with a motion to dismiss based on absolute prosecutorial immunity,

ASA Rubenstein would move to stay discovery against him in this matter until such time as a

determination is was made on the issue of absolute immunity.

       9.      In Mitchell v. Forsyth, 472 U.S. 511, 526, 105 S. Ct. 2806, 2815 (1985), the

Supreme Court, recognizing that qualified immunity shares the essential attribute of absolute

immunity – an entitlement not to stand trial – observed:

       The entitlement is immunity from suit rather than a mere defense to liability; and
       like an absolute immunity, [a qualified immunity] is effectively lost if a case is
       erroneously permitted to go to trial.

Therefore, the court held, “Unless the plaintiff’s allegations state a claim of violation of clearly

established law, a defendant pleading qualified immunity is entitled to dismissal before the

commencement of discovery.” Mitchell, 472 U.S. at 526, 105 S.Ct. at 2815. See also Puerto Rico

Aqueduct and Sewer Authority v. Metcalf & Eddy, Inc., 506 U.S. 139, 145, 113 S. Ct. 684, 688

(1993) (“the value to the States of their Eleventh Amendment immunity, like the benefit

conferred by qualified immunity to individual officials, is for the most part lost as litigation

proceeds past motion practice”).

       10.     The Mitchell court explained the basis underlying the concept of qualified

immunity thusly:

       The conception animating the qualified immunity doctrine as set forth in Harlow
       v. Fitzgerald, 457 U.S. 800 (1982), is that “where an official’s duties legitimately
       require action in which clearly established rights are not implicated, the public
       interest may be better served by action taken ‘with independence and without fear
       of consequences.’” [Citation omitted] . . . the “consequences” with which we are
       concerned in Harlow are not limited to liability for money damages; they also
       include “the general costs of subjecting officials to the risks of trial -- distraction
       of officials from their governmental duties, inhibition of discretionary action, and
       deterrence of able people from public service.”


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Mitchell, 472 U.S. at 525-26, 105 S. Ct. at 2815.

       11.     The court had previously addressed these concerns in Harlow v. Fitzgerald, 457

U.S. 800, 102 S.Ct. 2727 (1982), by holding that, until the threshold issue of immunity was

resolved, discovery should not be allowed. Harlow, 457 U.S. at 818, 102 S.Ct. at 2738. See also

Hunter v. Bryant, 502 U.S. 224, 227, 112 S.Ct. 534, 536 (1991) (“. . . because the entitlement is

an immunity from suit, rather than mere defense to liability, we repeatedly have stressed the

importance of resolving immunity questions at the earliest possible stage in litigation.”)(internal

quotation marks and citations omitted).

       12.     The same concerns raised in Mitchell v. Fitzgerald were recognized by the

Supreme Court when it held that prosecutors are entitled to absolute, rather than qualified

immunity:

               If a prosecutor had only qualified immunity, the threat of §1983 suits
       would undermine performance of his duties no less than would the threat of
       common-law suits for malicious prosecution. A prosecutor is duty bound to
       exercise his best judgment both in deciding which suits to bring and in conducting
       them in court. The public trust of the prosecutor’s office would suffer if he were
       constrained in making every decision by the consequences in terms of his own
       potential liability in a suit for damages. Such suits could be expected with some
       frequency, for a defendant often will transform his resentment at being prosecuted
       into the ascription of improper and malicious actions to the State’s advocate.
       [Citation omitted.] Further, if the prosecutor could be made to answer in court
       each time such a person charged him with wrongdoing, his energy and attention
       would be diverted from the pressing duty of enforcing the criminal law.

Imbler v. Pachtman, 424 U.S. 409, 425, 96 S.Ct. 984, 992 (1976).

       13.     Addressing what it characterized as a conumdrum relating to compliance with the

directives of Harlow and Mitchell, as presented in a case involving issues of qualified immunity

where artful pleading could possibly avoid the immunity, the court in Elliot v. Thomas, 937 F.2d

338 (7th Cir. 1991), observed: “Official immunity creates a ‘right not to be tried’; yet if by

arguing that the defendants acted with forbidden intent the plaintiff may obtain exhausting



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discovery and trial, the promise of a ‘right not to be tried’ is a hoax.” 937 F.2d at 344. The

Seventh Circuit determined, consequently, that the issue should be resolved at the pleading stage:

       . . . we think that the best solution to the conumdrum is to require the plaintiff to
       produce specific, nonconclusory factual allegations which establish [the necessary
       mental state], or face dismissal. Unless the plaintiff has the kernel of a case in
       hand, the defendant wins on immunity grounds in advance of discovery.

Elliot, 937 F.2d at 344-45 (internal quotation marks omitted).

       14.     In addition to the policy concerns dictating against proceeding on discovery

where absolute immunity issues are raised, because the allegations against ASA Rubenstein arise

out of his conduct as a Felony Review assistant state’s attorney in the underlying state criminal

prosecution of plaintiffs, any information or documents that ASA Rubenstein may disclose under

Rule 26(a)(1) would necessarily be associated with the ongoing prosecution and the criminal file

of the Cook County State’s Attorney’s Office.

       15.     The purpose of staying the §1983 proceedings during the pendency of the

underlying criminal matter is to avert any interference in the criminal prosecution. To require a

defendant sued in his capacity as an assistant state’s attorney, who is involved in the underlying

prosecution, to participate in the civil rights lawsuit while the underlying criminal prosecution is

ongoing would be contrary to this policy.

       16.     Based on the foregoing, ASA Rubenstein respectfully requests that this Court stay

his disclosures under FRCP 26(a)(1) until such time as the stay entered in this matter is lifted

after the underlying criminal proceedings have terminated, and until such time as there has been

a determination on any issues of absolute prosecutorial immunity raised in response to plaintiffs’

complaint.

       WHEREFORE, for the above and foregoing reasons, defendant Assistant State’s

Attorney Jacob Rubenstein prays that this Court stay his Rule 26(a)(1) disclosures until such



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time as the stay is lifted on this matter and a determination is made on any issue of absolute

prosecutorial immunity.



                                                  Respectfully submitted,

                                                  RICHARD A. DEVINE
                                                  State’s Attorney of Cook County



                                           By:     s/ Stephen L. Garcia____________
                                                  Stephen L. Garcia
                                                  Assistant State’s Attorney
                                                  No. 06195546
                                                  One of the Attorneys for Defendant
                                                  Jacob Rubenstein


Patrick T. Driscoll, Jr.
Deputy State’s Attorney

Louis R. Hegeman, Supervisor
Special Projects and Assignments

Stephen L. Garcia
Assistant State’s Attorney
500 Richard J. Daley Center
Chicago, Illinois 60602
312.603.5475




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